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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

ANTON WILLIAMS                                     :
                                                   :
       v.                                          : CIVIL NO. CCB-11-574
                                                   : Criminal No. CCB-08-0347
UNITED STATES OF AMERICA                           :
                                               ...o0o...

                                        MEMORANDUM

       Federal prison inmate Anton Williams has filed a motion to vacate sentence under 28

U.S.C. § 2255 and a first amended motion raising several claims related to his guilty plea and

sentencing. For the reasons that follow, the motions will be denied.

       Williams pled guilty on June 29, 2009 to the charge of conspiracy to distribute and

possess with intent to distribute 50 grams or more of cocaine base and five kilograms or more of

cocaine hydrochloride. Given the quantity, his criminal history, and the mandatory minimum,

his guideline range was 120 to 135 months. On January 7, 2010 he was sentenced to the

mandatory minimum of 120 months. No appeal followed.

       In this timely § 2255 motion, Williams alleges (1) that the court did not properly

determine his plea was knowing and voluntary and (2) that his counsel was ineffective for (a)

failing to adequately investigate and present Williams’ mental history at sentencing and (b )

failing to seek downward departures based on diminished capacity, mental and emotional

conditions, extraordinary family circumstances, employment and family ties, aberrant behavior,

and sentencing disparity.

       None of Williams’s sentencing arguments are relevant in the face of a knowing and

voluntary plea to charges carrying a 120-month mandatory minimum. Counsel is not ineffective

for failing to request a departure this court had no authority to provide. As to the guilty plea, the



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record reflects a thorough colloquy with Williams in which he indicated his understanding of the

charge and the penalties, including the mandatory minimum, and stated satisfaction with his

counsel. Williams appears to contend that when the presentence report (“PSR”) revealed his past

psychiatric history, the court should have revisited the voluntariness of his plea. The PSR,

however, states that while Williams had issues as a child, he told the probation officer that he

“outgrew” this behavior as a teenager, and he reported no mental health issues as an adult. (PSR

¶ 83). Nothing Williams presents in his motion constitutes evidence of a psychiatric condition

present in June 2009 which would have prevented him from entering a knowing and voluntary

plea. Accordingly, his motion under § 2255 will be denied. Further, he has not met the standard

for a certificate of appealability under 28 U.S.C. § 2253(c).1

           A separate Order follows.




November 14, 2012                                                                  /s/
     Date                                                                   Catherine C. Blake
                                                                            United States District Judge




1
    Williams is free to seek a certificate of appealability from the Fourth Circuit.

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